Case 3:07-cr-30136-DRH-PMF       Document 366       Filed 08/21/09     Page 1 of 1   Page
                                     ID #1129



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

CURTIS LEE EVERITT,

Defendant.                                                   No. 07-30136-DRH

                                      ORDER

HERNDON, Chief Judge:

              Before the Court is Defendant Curtis Lee Everitt’s Motion for Extension

of Time to File Objections to the Presentence Investigation Report (Doc. 363).

Defendant Everitt argues that his counsel needs additional time in which to file

objections in order to research issues that were presented during the review of the

PSR. Defendant requests an additional seven (7) days in which to file objections.

Based on the reasons in the motion, the Court GRANTS Defendant Everitt’s motion

for extension of time to file objections to the presentence investigation report (Doc.

363). Defendant will have up to and including August 28, 2009 in which to file

objections.

              IT IS SO ORDERED.

              Signed this 21st day of August, 2009.

                                              /s/      DavidRHer|do|
                                              Chief Judge
                                              United States District Court
